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                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                        )
                                                            )
                                                            )
                    Plaintiff,                              )
                                                            )
 v.                                                         )   Case No. 4:17-cv-00454-GKF-jfj
                                                            )
 1) CASTLE HILL STUDIOS LLC                                 )   REDACTED
    (d/b/a CASTLE HILL GAMING);                             )
 2) CASTLE HILL HOLDING LLC                                 )
    (d/b/a CASTLE HILL GAMING); and                         )
 3) IRONWORKS DEVELOPMENT, LLC                              )
    (d/b/a CASTLE HILL GAMING)                              )
                                                            )
                    Defendants.                             )

                        DECLARATION OF PETER A. SWANSON IN SUPPORT OF
                   PLAINTIFF’S MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

             Pursuant to 28 U.S.C. 1746, I, Peter A. Swanson, hereby declare the following:

             1.       I am an attorney with the law firm of Covington & Burling LLP, counsel for

      Plaintiff Video Gaming Technologies, Inc. (“VGT”). I was admitted pro hac vice in this case on

      August 9, 2017. I make this declaration in support of VGT’s motion for leave to file an amended

      complaint.

             2.       Attached as Exhibit S is a true and correct copy of an excerpt from the June 8, 2018

      deposition transcript of Paul Suggs.

             3.       I declare under penalty of perjury that the foregoing is true and correct.

             Executed on June 25, 2018 in Washington, District of Columbia.

                                                     /s/ Peter A. Swanson
                                                     Peter A. Swanson
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on June 25, 2018, I filed the foregoing via CM/ECF, which caused

  the foregoing to be served on the following counsel for Defendants:

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                                                     /s/ Michael Sawyer




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